Case 4:16-cv-00282-DCB-PSOT Document 15-1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE finn

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(Name)
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(Prison Id. No.)

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Filed 03/31/16 Page 1 of 72

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this lawsuit. Do not use “et al.” Attach
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Plaintiff(s)
v. JURY TRIAL REQUESTED As __NO
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. . (Name) ofo Gewraca| against whom you are filing this
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Drentweed TH 37027 ) TNuege “Ve ance
Defendant(s) )
Fist Kmerseo

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
PURSUANT TO 42 U.S.C. § 1983

I. PARTIES TO THIS LAWSUIT

A.  Plaintiff(s) bringing this lawsuit:

1. Name of the first plaintiff: Awook Kumac Voi gock

Prison 1.D. No. of the first plaintiff:

(O208\

Address of the first plaintiff: Asoc Tucson, MWaeczanthe Gnior €-\4

RB. Bor QUUOL Tucson Acrrrowta BST3Z4U-N4OI

Status of Plaintiff: CONVICTED ( 4

2. Name of the second plaintiff:

PRETRIAL DETAINEE (__)

Prison I.D. No. of the second plaintiff:

Address of the second plaintiff:

Status of Plaintiff: CONVICTED (___)

Revised 11/2014

PRETRIAL DETAINEE (___)

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De. * 20 Brentwood WN 37027
4) Tracy Nolan(élo Genecal Counsel } Corizow Twe. (03 W. Park Dr, #200

Seenfwood, \N 37027

6) Jonertham \alkev (¢Jo Gewerds( Counsel) Cocizonw de. 103 Wi Park De.
FLO0 Brentwood, \W 31027

vb) Dr, Woodrow Mayers (lo Bemece Counse\) Corizon Lac. (103 W. Pack

Ve *aov Breatoood TN. 31027

1) Korey Witty (le Ceneces| Counsel) Cori zon Lae. 103 Ws Peck De. #200

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Rerentwood, VN. 37027

4) Scott Bowers Clo General Counsel) Corizon Jwe . 103 We Pack Dr. #00

Brentwood, WW. 31027
Lae) De, Lucy Burccraga Cori zon Awe. Bow 24400 Tucson, AZ 85134

\W) Angela Mactiwer RN. Cocizon Nucsing Sugecoisot , Cori zon Awe,
| Box auyoo Vucsom sAcizon4a g5734

12) Vamaco Rocker (AN, Ceci TON Facility dwar ti sxtactor / Gor zors belt

Bow BUYS Voacsonr Arizona 85773 y

13) Li5a Lyon (RN, Administrator ) Cecizon Awe, BOX VBYHODd

Vucson, Acizona 85734

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(include the name of the institution and mailing address with zip code for each plaintiff. If
any plaintiff changes his or her address, he or she must notify the Court immediately. If there
are more than two plaintiffs, list their names, prison identification numbers, and addresses on

a separate sheet of paper.)

B.

Defendant(s) against whom this lawsuit is being brought:

1. Name of the first defendant: Cmacizom Amc dcoocaved
Place of employment of the first defendant: ADO © \Wwol West
Jefferson Phoemiy Acizoma 85007
First defendant's address: Cocvzoms Tne... Coca. ice, 1\OZBW.
Pack Deive *206 Brentwood TN. 376277

Named in official. capacity? _X Yes ___No
Named in individual capacity? _X Yes ___No

2. Name of the second defendant: Dc Celyins Joh NS ors
Place of employment of the second defendant: Coci2on Twice 103 WwW.
Pack Deve *2ov Prentwood , IN 37027
Second defendant’s address: (Com Zon Aoie, \03 Us. Pack Vcive
2200 Breacrssod, TN. 37027

Named in official capacity?  _% Yes No
Named in individual capacity? _4 Yes No

(if there are more than two defendants against whom you are bringing this lawsuit, you must
list on a separate sheet of paper the name of each additional defendant, his or her place of
employment, address, and the capacity in which you are suing that defendant. If you do not
provide the names of such additional defendants, they will not be included in your lawsuit. If
you do not provide each defendant’s proper name, place of employment, and address, the

Clerk will be unable to serve that defendant should process issue.)

Il. JURISDICTION

A.

COsrs,

Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners). APES
Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3). t) YQ use 48S Acvzena
paid Tennessee Constitutions 42 Use 4@e@, Tenwesstée Longa statute .

If you wish to assert jurisdiction under different or additional statutes, you may list

them below: 2) Divers hy of crtizenshia:n Lam a British citizen, the detenda arts
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HW. PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)
A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
United States District Court for the Middle District of Tennessee, or in any other
federal or state court? Ves ___No

B. If you checked the box marked “Yes” above, provide the following information:

1. Parties to the previous lawsuit:

Plaintiffs Anant Kuonad Veiga

Defendants Covizom Imeorootates

2. In what court did you file the previous lawsuit? Univred Steves
District Court .
(If you filed the lawsuit in federal court, provide the name of the District. If you
filed the lawsuit in state court, provide the name of the state and the county.)

3. What was the case number of the previous lawsuit? CAN V3 - OWw\5

4. What was the Judge’s name to whom the case was assigned? + \ iG @
Void Yury

5. What type of case was it (for example, habeas corpus or civil rights action)?
Civil Ki
twit Kights

6. When did you file the previous lawsuit? (Provide the year, if you do not know
the exact date.) Q06013

7. What was the result of the previous lawsuit? For example, was the case
dismissed or appealed, or is it still pending? still Vesiding fog
APPe Al

8. When was the previous lawsuit decided by the court? (Provide the year, if you
do not know the exact date.) QOid

9. Did the circumstances of the prior lawsuit involve the same facts or

circumstances that you are alleging in this lawsuit? Yes _¥ No The Prror
Lawsuit in volued conduct ative +o July 2013

(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on a
separate sheet of paper, and provide the same information for the additional
lawsuit(s).) J haue filed more th as three cases pray records
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2. What was the response of the authorities who run the detention facility?

J. If you checked the box marked “No” in question iV.H above, explain why not.

V. CAUSE OF ACTION

Briefly explain which of your constitutional rights were violated: Vinetioer oF U2 Use 1983 Cout 1)
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(Couuwk TE) Affordable care vcr counk ND vredizn | maleratktice

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Vi. STATEMENT OF FACTS

State the relevant facts of your case as briefly as possible. Include the dates when the incidents
or events occurred, where they occurred, and how each defendant was involved. Be sure to
include the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim ina
separate paragraph. Attach additional sheets, if necessary. Use 8 % inch x11 inch paper. Write
on one side only, and leave a 1-inch margin on alld sides. “Yyns Comeenst_ SETS

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5e 4:16-cv-00282-DCB-PSOT Document 15-1 Filed 03/31/16 Page 27 of 72

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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 28 of 72

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Negligence under Arizona and Tennessee Laws

i) 1 ceallege Pacagragly 140 NU amd allege .
IY) Each of Me defendants owed a duty to mero provide Wealkh care

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NS) Each of the defesdants breached Meir dutyte me and were
Nag liqertt When They rehused Yo failed ke do so.

ase 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 - Page 29 of 72

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ase 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 30 of 72

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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 31 of 72
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TH) Pucsuank to 28 USC 220) TL coquest declaratory pragemert Moor
Vine gractice 19 Shown inne decislons iw (CO) ADOC! anid Corizen’s

Uniachties practices 5 Co) ADOC and Corizon’s poliaes , C) Settlements
enckerad invho loy ABDC aNd Corizow (a) Bids submitted by Corizon
Lincluding oneeross E-mails leading to Anese bids (ec) Comboacks Not
CAMBWRA and cancelled AQaingt Cocizon Cf) Audis of ADOC and

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 32 of 72

Corizout Co) minutes ff meetings of ADOC executives and dne lovee &

F Aicectors aa execudvor comnnriee of Cocizon (In) Fil Nas ay ADOC amd
Cori2on Lain Federal agemeies CG) Responses by ADOC and Cocizor do request
for disepuery is Viki gettion! iy Federal and Skote courts ()) Ext intecuiews

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FAD 401 ,Qo7-04 CD.DC 1485)

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135) PlaiwMtT ceodleges gacagraghs Vo TRY and alleges:

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131) L Nave increased shakes, teomorxs, high blood pressure, Sugar

lows , Urinary Pfollams, allergies, problems WallAisra Wy thou

PAIN, Sleeging Problems; Purished Foy acotected Con duck 1 and
dvwcriminoted due ko my AisaboiVAled.

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 33 of 72

Vil. RELIEF REQUESTED: State exactly what you want the Court to order each defendant to
do for you.

Carizorw cetucns ON promsies Som, ANY SoUce?d Xo gcoulde
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Cocizon Cexuns Qi eraniies Ceased Leow a my Soiree Fo

Orourde intonates hoe attracts , Aofemdamts cetucn “ail ener
CoM) NGS «

| request a jury trial. "Yes No

VII. = CERTIFICATION

| (we) certify under the penalty ef peyjury that the foregoing complaint is true to the best of my
. Signature:

(our) information, knowledge/and
eo Date: tuple
Prison Id. No. (odne/
Address (Include the city, state and zip code.) Sf wv: br Dop02) [hsgen, fo PT Ry

Signature: Date:
Prison Id. No.
Address (Include the city, state and zip code.):

ALL_ PLAINTIFFS MUST SIGN AND DATE THE COMPLAINT, and provide the information
requested above. If there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS MUST COMPLETE, SIGN, AND DATE SEPARATE APPLICATIONS TO PROCEED IN
DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS, if not paying the civil filing fee.

SUBMIT THE COMPLAINT AND (1) THE REQUIRED FILING FEE OR (2) COMPLETED APPLICATION
TO PROCEED IN _ DISTRICT COURT WITHOUT PREPAYING FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of fees will be returned. Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.

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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 )P POR 72
: Ml | oS)

ADC: 102081F Patient: TRIPATI, ANANT K. / | 4 of 8
Qe ey
Gabapentin continued as previously ordered - vo US
Random glucose checks _. ™ | 1

Neurology consult pending approval
Reviewed previously ordered labs
IM to submit HNR for further health needs

MEDICATION DISCONTINUED VIA THIS ENCOUNTER>‘Medication. Name: ‘Gabapentin’, Order Number:

0547517, Authorized By: Daye, Catalina, NP. Timestamp: 10/16/2015 11:35:06
_E— NOTES: IM provided with plan of care, verbalize undérstanding _—«_. /__\
H/S. MH Status: No history of MH services /
STAFF: Daye, Catalina, NPs fo oe

7 —Z

fF

ADC #: 102031F ‘/Inmate Namel: TRIPATI, ANANT K
ENCOUNTER DATE: 10/15/2015/. TIME: 05:42:31 AM DURATION: minutes PE: Nurse - Treatment

Call
» LOCATION: ASPC-T RESIDENTIAL MED HSG [C44] SETTING; Clinic.
_S__NOTES: Treatment Call Encounter generated by Pending “Tredtment_ Order scfeen,._ .
O CURR: 05:42:31 AM TEMP: 0.0 PULSE: 0 RP: 0 BP: 0/0 HT: 5 ft. 7ih. WT: 0 BLOOD
SUGAR: 94
. BLOOD. SUGAR LEVEL: 94 Finger Stick
. NOTES: None |
__A_NOTES: None __ /
P NOTES: None, oo of
| E NOTES: None oy . /
“H/S. MH. Status: No history of MH services /. oe af
STAFF: Bundza, Christine = . : . /
NURSE SIGNATURE: a fn i af cg
“ADC #: 102081F I fate Nam RIPATI, ANANT K.
ENCOUNTER DATE: 10/13/2015 J TIME: 10:23:58 AM DURATION: minutes TYPE: Nurse - Treatment
Call
LOCATION: ASPC- T RESIDENTIAL MED HSG [C44] | SETTIN i Clinic
~§ NOTES: BP check stameriteion
~ © CURR; 10:23:58 AM TEMP: 0.0 PULSE: 0 RP: 0 ne HT: 5 ft. 7in. WT: 0 BLOOD
SUGAR: NA
. (NOTES: None _ _f
A NOTES: None. / f
P “NOTES: BP check Tf
| E NOTES: None . - / a
-H/S MH Status: No history of MH services L/L
STAFF: Rice, Amy
NURSE SIGNATURE: _. -_-. it
“ADC #: 102081F Ipmate NanreSfRIPATI, “ANANT. ce
ENCOUNTER DATE: ¥0/13/2015~ TIME: 08:38:59 AM DURATION: minutes TYPE: Provider - Medication
Renewal
LOCATION:. ASPC- T RESIDENTIAL MED HSG [C44] SETTING: Clinic
S NOTES: This encounter was system generated when the prescription drug below was reordered from the
Drug Prescription Order screen CHSS037B.
~ Q NOTES: None
A MEDICAL DIAGNOSIS: Chronic pain syndrome [338.4]
NOTES: None
P DRUG PRESCRIPTION: Gabapentin/300 Mg VERBAL BY: Daye, Catalina, NP

EFFECTIVE DT: 10/14/2015 RT: PO DOSE: 3 STRENGTH: 300 MG METHOD: WatohySyaternoo0s14

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 36 of 72

ARIZONA DEPARTMENT OF CORRECTIONS

~
For distribution: Copy of corresponding
inmate Letter must be attached to this

Inmate Letter Response response.
/

(- ‘
inmate Name (Last, First M./.) ADC Number

Tripati, Anant 102081

Institution/Unit
ASPC/Tucson/Manzanita

-
From Location

COIV J. Mattos Programs Grievance Coordinator

This is in response to your inmate letter concerning issues with Medical and respoonses received. | have reviewed all
your grievances filed for the last 18 months and you have grieved issues on pain medication, change of medication,
medical appointments, medical tests and medical diet. These issues have been sent through our grievance process
and you no longer need to grieve these issues since they have been grieved previously.

\.. J

( Staff Signature Lo _ Date
Lo LES 2 AB-/S

Distribution: Origjaal - Master Record File
Cofy - Inmate 916-2
5/14/12

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 37 of 72

Arizona Bepactment of Corveclions

1601 WEST JEFFERSON
PHOENIX, ARIZONA 85007
(602) 542-5497
www, azcorrections. gov

CHARLES L. RYAN

ANICE K. BREWER
DIRECTOR

GOVERNOR

MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR

4

Inmate Name: TRIPATI ANANT ADC No.: 102081 Case Nos.; C14-119-014

Institution: ASPC-TUCSON/MANZANITA

Date Received: November 5, 2014

e Appeal in which you state that "ADOC has refused to give me

| have reviewed your Grievanc
e Chief Medical Officer of Corizon.

my diet” that was ordered by th

een investigated including a review of your medical records.

Your grievance appeal has b
eal is denied. The reasons for this decision are:

Based on our findings, your app

14. Our review shows that on 8/28/14, you met with Corizon's Medical Director (Dr..S.
McQueen) concerning your diet issues. you -wéré subsequently issued a No Gluten
Diet/Allergy Diet. We have confirmed that this diet order has been-implemented. As to
your request for a Hindu Dict/Vegan Diet, this is a religious diet ana is under the

Chaplain; therefore, it will not be addressed within this response. You

purview of the
are advised to discuss your request for a religious diet with the Chaplain assigned at

your facility.

Needs Request (HNR) if you have additional issues or

2. Please submit a Health
cal provider.

concerns which you wish to discuss with a medi

This response concludes the medical grievance process per Department Order 802.11 Medical

Grievance.

Charles L. Ryan, Difector

Facility Health Administrator, ASPC-Tucson
C.O, Inmate File

CC:

Page 1 of 1

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Health Carr sviders_and Senior Chaplains ordering res strict d)
diets -will & late, sign and dale tha Restricted Diet Order
Earn, The aes? or Senior Chaplain will retain thair portion of
ihe form and engure the form is placed in the Inmate's records:

with the remaining portion of the order farm forwarded io the |

_| Reissue
[inmate Ne Name (Last, First M.1.) “Aw. 4 ADC Number | . )
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—1é iPet NAW q
institution/Facility/Unit Housing Assignment Start Date Expiration Date
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| faa SB IGE | 4 -d-sy we |
(MEDICALDIETS )
-, Dental/Mechenical Soft Diet Di :
) (Easy toa chaw/swallow) - Controlled Protein Diet | | Pregnancy
ty we ye > y long-term Full Liquid Diet 2 re imtveis Di
j Clear Liquid Diet Hi (Atdonalically expires in 8 weeks - supplement required} so Renal/Dialysis Diet
» Full Liquid Diet LG ~ HL ;
) (Automatically expires in 5 days) |_| Wasting Syndrome _beailergy Dict AC
' Liquid Supplements : | Chemotherapy Diet id DA Pia we? wikAr, | a
| [L-NO Gluten Diet NuUTSC Deaf) pra Se Y, po Peary
| Prescribed snack consisting of: 6 saltine crackers or 3 graham crackers
> am snack - + mid-day snack i | am snack

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» Other: Pate Dare Nay fe Live (oars “Y Festi iy, L bur ut & lute ed et
~ Dn Prou derty

(Restricted medical diets not defined in the ADC Diet Reference Manual may be ordered only with the approval of the Medical Director of Fleaillh, CK

Services or designee with the following approving authority Signature.

‘\

Aporoving Authority Syynature: . we . ~ .

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fl.

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Cb hig @ Pex fie d Ay OF PrP rin san f nfs ¢ ohn
fighith

| RELIGIOUS - |Ain ‘lin at | miss 5 ‘meals in? days | may be removed from this diet for 6 months. Second violation will result ita 14
SUSPaNsion,

Inmate's Signature Date “+ Comments
Approved by: , ‘Date
DIET 1S BEING DISCONTINUED DUE TO: i Date
sent e a . . . cores : ee pene eee eam ennertccamminnell
DISTRIBUTION Initial - Odginator - Top portion of form only, Food Service Liaison - Remaining form - Diet Card Only
ARIZONA DEPARTMENT OF CORRECTIONS
Restricted Diet Card i noe vs
: : epee tenes o | i Food Service st
! inmate Name : Expire Dato . i Vartfication t

; Lacta Vayetarian Diet
(Ae: ves mile and mitk products)

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Case 4:16-cv-00282-DCB-PSOT Document 15-1

Filed 03/31/16

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ARIZONA DEV, ane" OF, CORFECTIONS teal’ ce Providers and Seiler Chaplains ardaring msincied }
iliets: am mplete, sign and date ihe fustri Order
APA co} Farm. > HEP of Senior Chaplain will relain theif pedion al
Restricted niet rer. 2, tha faim ee The Torn ig placed ip the jamaie’s records
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MEDICAL DIETS
: Dental/Mechanical Soft Diet + Controlled Protein/Hepatic Diet - Pregnancy
(Easy to chaw/swaliow)
; Clear Liquid Diet , Long-term Full t. iquid Diet Renal/Dialysis Diet
(Expires in 3 days) * fAutonnuiticatiy expires in 8 weeks)
' Full Liquid Diet : Wasting Syndrome 1, ateray Diet iixtades corn, wheat, milk,
(Automatically expires in 5 days) {No liquid supplement provided) {poanlil, ea Mts. soy. a0 Egil)
: Liquid Supplements ‘ + Chemotherapy Diet NA 14-
(1 per day or 2 per day) (List days of the week to provide diet 3
/ ; Prescribed snack "No Gluten Diet
Lom snack “mid-day snack : LZeatime snack
(Restricted medical diets not listed above may be ordered only with approval of the Medical Director of Health Services or designee with the
approving nee
- other: (lldd Qethgs Suet Eetounniste
Approving Authority Signature: _ Klbodke ttt
XM __/

-
RELIGIOUS DIETS

Vegan Diet

. Kosher Diet Plan

NOTICE TO INM
fhe Medical Diet will supersede it.
cotendar days, or when lhe.inmate re
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MEDICAL - | understand ih¢ terms and

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ATE - Medical Diets take prece
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RELIGIOUS - | understand that if | miss 5 meals in 7 days | may be removed from this diet

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Inmate's Signature | OVW Date
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Approved by: (Last, First MJ) (Please print & initial) Phone Number & Extension Dale
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io secpive only the proscribed. religious,

<x) L77 77 Comments
#67

ine Religious Diet,
are nissed in seveii(7)

hen fiva (8) meals
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for 6 months. Second violation will result ina 12 month

Inmate’s Signature Date Comments
Approved by: (Last, First MA } (Please print & Initial) "Phone Number & Extension Date
DIET IS BEING DISCONTINUED DUE TO: Date
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ARIZONA DEPARTMENT OF CORRECTIONS
Restricted Diet Card Abe)
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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 40 of 72

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ARIZONA DEPART

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> (Easy to chew!swallow) | { Controlled Protein Diet

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Approving Authority Signature\

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suspension,

Inmate's Signature . Date Comments
Approved by: Date
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| ARIZONA DEPARTMENT OF CORRECTIONS .
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i Restricted Diet Card So case Food Service
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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 41 of 72

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dints vei ste, sign: ond date the Restricted Biel Order
Fite. Taw HGP ot Senion Chaplain will retain a vopy of Wie
form and ensure (he.form is placed in the inmate's records, with

Restricted Diet Or
° der - Ky , — a copy of ihe order form forwarded to tha Food Sorvice Liaison
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Inmate Name (Last, First M.1.) ADC Number

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ARIZONA DEPARTMENT OF CORR’

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MEDICAL DIETS
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[] Clear Liquid Diet [7] Long-term Full Liquid Diet "| Renal/Dialysis Diet
(Expires in 3 days} “~" (Automatically expires in 8 weeks)
i] Full Liquid Diet i] Wasting Syndrome LXf Aliergy Diet (Excludes com, wheat, milk, peanuts,
(Aulomatically expires in 5 days) {No liquid supplement provided) tree auts, say, egg, tomato, peppers, and onion)
|] Liquid Supplements |__| Chemotherapy Diet pale ny (fe, Sof, W heat
(____1 per day or 2 per day) (List days of the week to provide dial ae __  pece naks
|__] Prescribed snack Ne No Gluten Diet S bya?
[_] am snack |] mid-day snack |] Bedtime snack
Restricted medical diets not listed above may be ordered only with approval of the Medical Director of Health Services or designee with the
approving authority signature.
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Approving Authority Signature: dw... _ WillambHelder FMP vee
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RELIGIOUS DIETS

|} Vegan Diet | | Kosher Diet Plan

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. Prager Religious Diets, if a medical condition-exists thal is contraindicated by the Roligious Diet,

the Medical Diet will supersede it. inmate will he Proved trom the diet roster for non-compliance when five (5) meals are missed i) seven(7)

calendar days, or when the inmate requests removal in writing: Inmates are to receive only the. prescribed religious/medical diet and each inmate is

responsible for his/her restricted diet and conipliance to their diet.

MEDICAL - | understand the terms and sonditions of this diet.
Inmate's Signature j \ er, ee,

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NOTICE TO INMATE - Medical Diets lake, preva

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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 42 of 72

ARIZONA. DEPARTMENT

ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

OF CORRECTIONS

Log # Inmate Name ADC# Case # Complex Unit
[ass] [  Tripati | [102081 | [  1sci4o2g | [Tucson | | — Manzanita

In your grievance filed at Manzanita Unit, you are requesting a policy change that allows you to receive a
medical and religious diet at mealtimes.

Your grievance appeal has been reviewed at Central Office and the Warden's response is affirmed. You are
currently on a medically ordered diet for food allergies. The medical diet cannot coexist with a vegan diet, as
the vegan diet contains items to which you claim to be allergic. Therefore, as long as you remain on the

medical diet, you cannot receive a vegan diet.
Your request for a policy change is denied.
No further action is warranted in this matter.
CC: Warden, Tucson Complex

H.R.

Appeals Officer

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Page 1 of 1

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 43 of 72

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ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

OF CORRECTIONS

Log # Inmate Name ADC# Case # Complex Unit
| 320) | Tripati | {102081 | [ ci4o9701s | | Tucson | | Manzanita — |

In your grievance filed at Manzanita Unit, you claim staff addressing grievance appeals are not printing their
names beneath their signatures, as required by policy. You further assert that it is difficult to identify parties in
a lawsuit without the printed name. Your resolution is to have staff print their names underneath their
signature,

Your grievance appeal has been reviewed at Central Office and the Warden's response is affirmed. Pursuant to
DEPARTMENT ORDER 802 INMATE GRIEVANCE PROCEDURE

802.01 GENERAL INFORMATION

1,1 The Inmate Grievance Procedure is designed to address inmate complaints related to any aspect of
institutional life or condition of confinement which directly and personally affects the inmate grievant
including Department Orders, Director's Instructions, Post Orders, Technical Manuals, and written
instructions, procedures and the actions of staff.

802.05 APPEALS TO THE DIRECTOR (NON-MEDICAL)

1,5 The Director may delegate signature authority for any and all Grievance Appeal responses.

All department forms are required to have the signature of the person completing the form. However, it is not
a requirement that the individual signing the form print their name underneath.

You may submit a request to your assigned COIII for the staff name that you require in regards to legal
proceedings.

No further action is warranted in this matter.

CC: Warden, Tucson Complex

‘ENP,

Appeals Officer

Page | of 1

cc

[=Stomach ( ope fr Gl} Permanent loss of control: Bowel and/or Bladder
er [41 Tfection ‘\ Lh Permanent need for life sustaining machinery or equipment
[+ Perman en Moss of mobility LA f (Dialysis, Ventilator, Oxygen, Tracheotomy)

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 44 of 72
ARIZONA DE ASNT OR GOR TONS

it to Treatment

fy have been advised that it is necessary for me to undergo the following:

Refusal to

Evaluation Treatment (Check box and specify)
[_] Dental examination [_] Dental procedure
[_] Nursing assessment |] Nursing procedure

[_] Mental Health assessment/treatment [] Medical procedure
(Sk Medical Provider evaluation [D~ A teettion

|] Emergency assessment for

[| Outside medical appointment [] Emergency treatment
[_] NPO/PREP for [ ] Lab [_] X-ray
Other Be AQ_e

{ Related to (diagnosis or procedure) fay Aon -f Le Sv-xe ]
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( Consequences of Refusal (Check all that might apply)

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(7 Stroke and/or Heart attack L- ur iadtoss Cheat (alease ee 2 Geis) >
rin Ou aste 2

[7 Irreversible coma O-
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LL p.08s of body part(s) (specify)

bility to fully evaluate, treat or di
Lc-inabilty t¢ fully | ° at or diagnosis Re eg terioration of Mental Statps
[] Other tf! wofuse cunduahon by you AOS [Ssuecd In aclotdance cette Medical

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Patient education has been no vided by nursing staff at the timé of the refusal to ensure the inmate is m an informed réfusal,

a Health Services may seek reimbursement directly from the inmate for any money lost to outside clinics or hospitals for late
cancellations as a result of this refusal.

(Tt has been fully explained to me the effect and nature of this treatment. Although my failure to follow this advice may seriously
imperil my life or health, | nevertheless refuse to submit to recommended treatment. | assume full responsibility for the risks and
consequences involved in my decision and specifically release the Arizona Department of Corrections from any and all liability for
those risks nn consequences. | also understand, however, that if at any time | change my mind, | may seek treatment again.

Corizon comply with the SNOS (| 4 above
[REASON FOR REFUSAL:

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Witness's Signature 4 hy Date | D /94 Ws; Timen py d

Date Time

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Witness's Signature (Needed if inmate refuses to sign)

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{ iSTRUCTIONS: Make a checkmark in the box or boxes which apply to the refusal. Where there |] Inmate Name (Last, First M.1) ADC Number

are choices, circle the most appropriate answer. If none of the choices or boxes are appropriate,

write in the OTHER the reason which applies, Under the consequences section, check ALL areas A | v j O ¥ (

which might apply as a consequence of refusing. Consequences not listed can be written in the ‘Teipob, vant uma oO

blank lines marked "OTHER". Complete a SOAP note documenting all education given to the Facility/Unit

inmate. IF THE CHARGE SECTION DOES NOT APPLY WRITE IN N/A. A single witness is Date of Birth acility/Uni

needed unless I/M refuses to sign form, then two witnesses are needed. The second witness may lu
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be non-medica ADC staff. {- ilLe- sy
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Cas¢ 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16

JANICE K, BREWER

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Arizona Bepariment of Covcectians

1601 WEST JEFFERSON
PITOENIX, ARIZONA 85007
(602) 542-5497

www. azcorrections. 20V

GOVERNOR ASTRECTOR
MEDICAL GRIEVANCE APPEAL: TO THE DIRECTOR
inmate Name: Tripati, Anant ADC No.: 102081 Case No.: C02-026-2009

Institution: ASPC-Tucson/Santa Rita Date Received: July 22, 2009
| have reviewed your Grievance Appeal in which you state your opinion that as
retaliation for your filing medical grievances and complaining that religious and medical

diets were not being provided, your personal copies of diet cards and Special Needs
Orders were seized by security staff.

Your grievance appeal has been investigated and denied. The reasons for this decision

are:

1. As the Health Services Division has communicated to you, the medical record
documenting health care and services to you is missing.

2. An investigation is underway to develop information needed to determine the
whereabouts of the medical record. It should be noted that the medical
record is considered the property of the Arizona Department of Corrections.
As part of the investigation, the documents that were seized were taken under
the authority of Department Order 909.07. Please be advised that under this
Department Order a process is established for you to reclaim the items seized
if they are not deemed contraband.

The primary concern of Health Services is to assure continuity of care and
that your medical needs are adequately addressed. For that reason, all
documents in your possession pertaining to health care provided prior to the

disappearance of your medical record were needed to review and confirm
previous treatment plans.

| This response concludes the medical grievance process per Department Order 802.11
| Medical Grievartce.

dC et

Date

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A, ASPC-Tucson
C.O. Inmate File

cc:

Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 46 of 72

ARIZONA DEPARTMENT OF CORRECTIONS

Arizona State Prison Complex-Tucson
MEMORANDUM
To: Property file
From: Armando Aguilar, Deputy Warden, ASPC-Tucson/ Cimarron
Date: December 30, 2008
Subject Tripatl #102051
The followibg documents have been provided from inmate Tripati’s personal

paperwork to replace missing itams in ‘his property file. This is in resofution to
grievance #:08-CL1-109 and all documents shall be considered valid.

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cc :
Deputy Warden Aguilar

CC Captain Grewe ce nee
Lt. Jonson SEW Boar wkd
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Case 4:16-cv-00282-DCB-PSOT Document15-1 Filed 03/31/16 Page 47 of 72

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ADC: 1020818356 4:16-cv-00282-DCB-PSefient: TRU AGH ANAN THfed 03/31/16

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---ARIZONA- DEPARTMENT. OF CORREAMDNS-- bees

Refusal to Submit to Treatment

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Treatment (Check box and specify)
j Dental procedure

i | Nursing procedure

Evaluation

[| Nursing assessment

{-] Mental Health assessment/treatment
[_] Medical Provider evaluation
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fection { ent need for life sustaining machinery or equipment

Permanent loss of mobility - tlator, Oxygen, Tr t
on oke and/or Heart attack ; Loss of sense(s): (please cirie)

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Seite coma hearing sight touch taste smell
Wb impaired skin integrity: (bed sores, scars, etc.) '
vont , Ph f body parl(s) (specity)
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i™; Inability to fully evaluate, treat or diagnosis ; SS 0 YP (SPECI) oe amrne . ee vee
= Deterioration of Mental Status

: | Other

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Patient education has been provided by nursing staff at the time of the refusal to ensure the inmate is making an informed refusal.

ADC Health Services may seek reimbursement directly from the inmate for any money lost to outside clinics or hospitals for late
cancellations as a result of this refusal.

It has been fully explained to me the effect and nature of this treatment. Although my failure to follow this advice may seriously
imperil my life or health, | nevertheless refuse to submit to recommended treatment. | assume full responsibility for the risks and
consequences involved in my decision and specifically release the Arizona Depariment of Corrections from any and all fiability for
those risks and consequences. { also ugderstand, however, that if at any time | change my mind, | may seek treatment again.

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REASON FOR REFUSAL:
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write in the OTHER the reason which applies. Under the consequences section, check ALL || 7 [ee { v UP
areas which might apply as a c q of refusing, Conseq! nal listed can be written
in the blank lines marked "OTHER". Complete a SOAP note documenting all education given ta . U Facility/Unit
the inmate. IF THE CHARGE SECTION DOES NOT APPLY WRITE IN N/A. A single witness is |} Date of Birth acnilyAn:
needed unless i/M refuses to sign form, then two winesses are needed. The second witness may
be non-medica ADC staff. { MY ASPC-TUCSON/MANZANITA
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SECTION 3, CONSENTS/REFUSALS

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Case 4:16-cv-00282-DCB-PSOT Document 15-1

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ARIZONA DEPART aayGroatgecrions _ ate Issued Expiration Dale
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ARIZONA DEPARTMENT OF CORRECTIONS
DIRECTOR'S OFFICE

MEMORANDUM
TO: DISTRIBUTION
FROM: CHARLES L. RYAN
DATE: JULY 29, 2015

SUBJECT:  Director’s Instruction #__ 338 __, Housing Criteria for medical and mental health units at
ASPC-Phoenix and ASPC- Tucson.

This Director's Instruction is effective immediately and supersedes Department Order #704, Inmate
Regulations, Section 704.08 — Inmate Housing Assignments, subsections 1.5.6 through 1.5.6.3, dated

July 6, 2013. This Director’s Instruction will remain in effect until incorporated into Department Order
#704, Inmate Regulations.

PURPOSE

This Director’s Instruction provides the criteria for housing inmates at medical and mental health units
located at the ASPC-Phoenix, Baker, King, John, Ida and George Wards and the ASPC-Tucson,

Manzanita and Rincon units.

ASPC-PHOENIX UNITS

1.0 Maximum Custody inmates approved for placement at Flamenco (King, John, Ida and George
Wards) shall be classified as a custody override to close. Upon discharge they shall be
reclassified back to maximum custody if appropriate.

2.0 Maximum Custody inmates approved for Baker Ward do not require a custody override to close
and shall participate in the maximum custody step program.

3.0 Inmates approved for placement at Baker or Flamenco Wards who have Do Not House With
conflicts with other inmates at these units shall be reviewed on a case by case basis to determine
if the Do Not House With conflict would make them ineligible for placement or if the Do Not
House With conflict could be overridden or resolved.

40 Mental Health staff shall request all movement in and out of Baker and Flamenco Wards through
the Offender Services Bureau Administrator or designee. Only Mental Health staff can
recommend movement in or out of Flamenco and Baker Wards.

5.0 Baker Ward:

5.1 Maximum Custody and below.

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2.2. No Sex Offenders.

2.3 No inmates approved for Protective Custody.

Manzanita Housing Unit 6 Special Needs Unit:

3.1 Minimum and medium custody only.

3.2 Sex offenders are eligible.

3.3. No inmates approved for Protective Custody.

Rincon Housing Unit 8 Able Special Needs Unit:

4.1 Minimum, Medium, Close and Maximum custody inmates.
4.2 Sex offenders are eligible.

4.3 Inmates approved for protective custody are eligible.
Rincon Housing Unit 9 Inpatient Care:

5.1 Minimum, Medium, Close and Maximum custody inmates.
5.2 Sex Offenders are eligible.

5.3 Inmates approved for Protective Custody are eligible.
Overrides from maximum to close or close to medium for medical reasons will be considered.

The unit CO IV will review on a case-by-case basis and consult with the medical and the unit
administrator. The override shall be approved by Central Office Classification prior to

placement.

DEFINITIONS:

INPATIENT CARE (IPC): Care provided to inmates with an illness or diagnosis that requires daily
monitoring, medication and/or therapy, or assistance with activities of daily living at a level needing

skilled nursing intervention.

SPECIAL NEEDS UNIT (SNU): Care provided to inmates with an illness or diagnosis that may require
monitoring, medication and/or therapy less frequently than in an infirmary setting, or may require
assistance with activities of daily living by unlicensed assistive personnel.

RESIDENTIAL CARE: Care provided to inmates whose health needs require a more protective
medical environment than that in the general population housing areas. Equivalent to home care for

those not confined to an institutional setting.

{Original Signature on File}

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5.2

5.3

Inmates approved for Protective Custody are eligible.

Sex Offenders are eligible.

6.0 King Ward:

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Close custody and below. Maximum custody inmates shall be overridden to close

custody.

No inmates approved for Protective Custody.

Sex Offenders are eligible.

7.0 John Ward:

Close custody and below. Maximum custody inmates shall be overridden to close

7A
custody.

7.2 Protective Custody inmates only.

7.3 Sex offenders approved for protective custody are eligible.

8.0 Ida Ward:

8.1 Close custody and below. Maximum custody inmates shall be overridden to close
custody.

8.2 No inmates approved for Protective Custody.

8.3. Sex Offenders are eligible.

9.0 George Ward:

9.1

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Close custody below female inmates only. Maximum custody inmates shall be overridden
to close custody.

Protective custody inmates are eligible.

Sex Offenders are eligible.

ASPC-TUCSON RINCON AND MANZANITA UNITS:

1.0 Medical shall approve all placements and discharges for the following units and coordinate
movement through the Central Office Classification movement officer.

2.0 Manzanita Housing Unit 5 Residential Medical Housing:

2.1

Minimum and medium custody only.

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ARIZONA DEPARTMENT OF CORRECTIONS
Office of Legal / Legislative Services

MEMORANDUM

TO; Greg Fizer, Complex Warden, Tucson Complex
FROM: Daryl Johnson, Monitor, Legal Access
DATE: September 2", 2008

SUBJECT: Inmate Tripati # 10208]

After Discussions with assistant Arizona Attomey General Pau! Carter,
Michael Brodsky and Kelley Morrissey, it is our conclusion that inmate
Tripati must be barred from making copies of legal materials and from
sending legal mail of any sort, unless he pays for these services in advance,
Policies as related to these matters must be over looked entirely,

Inmate Tripati has challenged and consistent! y seeks to challenge the
methods employed by ADOC and the Arizona Attorney General’s Office in

the matter of prisoner litigation. Neither the particular Judges involved, nor
the AG’s staff for that matter, can tolerate his tactics.

_/ He has established various websites, published books, and to Wit, has gained
* general public support for his cause, He is even seeking toimpose

\ international sanctions!

If we do not firewall this inmate and otherwise prevent him from gaining
further inroads to progress, and if any judge gives him a hearing, the cost to
the Department may indeed prove detrimental.

Judges in Phoenix and Florence will take no action. Your assistance in this
matter will be duly rewarded.

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ARIZONA DEPARTMENT OF CORRECT -

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ARIZONA DEPARTMENT OF CORRECTIONS

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MEMORANDUM
TO; Terry L, Stevarts, Birector
FROM: Frank Johnson, RMT ail.
DATE: January 18, 2630 we

SUBJECT, Anant Kumar Tripati v State OF arizona (CV#29~-20757)

yo bave concluded etter furthex investications into the
allegations made by inmate Tripati, ADO # 102081 ¥

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the Loss. The Superior Court denied the Ruae’ 22 filed by the
inmate as he was unable to produce the 80 vages and tape lost
by the Department. , ° "

The Avtorney General's Office must seattle inmate Tripatila
claims ASAP, This case is espectatly serious because the
evidence Lost, prevents the inmate from obtaininginis relezse
from custody and there are no duplicates available.

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ensure the inmate obtains the necessary nearing in his Rule
32 without the 80 nages and tape pecarse the inmate was not
abt faule in this matter.-

JAN 2-4-2008.

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ARIZONA DEPARTMENT OF CORRECTIONS lOZOK |
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feom: Regina Marines, Associace Depuc

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ARIZONA STATE DEPARTMENT OF CORRECTIONS

TO:
FROM:
DATE:

SUBJECT:

Offender Operations

MEMORANOUM

John Ontiveros, Complex Warden, Eyman

Sam Sublett, Division Director, Offender Operatiorsy= “s
March 29, 2006 as

inmate Tripati # 102061

As discussed you are correct Legal Services: Monitor Legal Access Dary! Jahnson
and the Attarney General's Staff have personal issues with this inmate. Due to the
issues the interest of the Department is cornorarnised.

Inmate Tripati is allowed to keep his typewriter . The Department allows inmates to
use typewriters if iney have a medical neecl. inmates are allowed use of computers

for education.

Inmate is allowed to have his family purchase typewriter supplies; a replacement
typewriter; ribbons and other legal supplies.

These items may be sent as legal mail.

This approval can only be overturned if the Director or | give a written directive.

The approval is valid for the duratian of the inmate’s confinement.

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ARIZONA DEPARTMFNT OF CORRECTIONS

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Fro SSPecoras. ASSIGNMENT / CatsP C6, hoe
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ne i ARIZONA DEPARTMENT OF CORRECTIONS
MEMORANDUM

Date: December QO, 20
TO? Joly DQokivecos pWarden Eymon Lompls.x

FROM: Lhe BZ Sa :

~ SUBJECT: “Brons sod “Recommendation Asadt Veioci 1 * \oa08\

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ARIZONA DEPARTMENT OF CORRECTIONS
_  MEMORANDU™

Date: December go) 200

TO: John Ontiveros , Wardan Eytan Comper
FROM} Qua GAL, ae
~ SUBJECT: pach and Recommendation  Aannt Teseet * e309

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Makics
Letters from Me. William Liebman

Lifters from Mr. Joba Culvee

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Enmate Letter coated fai/os Cwith added note dated W/o/o4)

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Grievance ttords

, Form: BO020000
“Page 2 ot CL. . Rev. 02/25/69

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ARIZONA DEPARTMENT OF CORRECTIONS
INMATE GRIEVANCE APPEAL RESPONSE

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Co SORE SET Pear PAR

Complex Unit

Loe # iomnte Name ADC# Case #
138 | | 102081 | | Al4-024-006 | [

Eyman | [Geox
In your grievance filed at Cook Unit, vou claim thar CO IIT Bullock falsified evidence by forging your property
documents.

In the response to your formal grievance, the D
admitted that any documents were forged, Yo
Marlette that your forms were amended

eputy Warden advised that CO If Bullock dia not and has not
uwere verbally informed by CO IIT Bullock in the presence of CO TH
to preveat the possibility of your property being destroved,

Your grievance has been reviewed at the Central Office level, 4 -opy of the court order from Honorable Judge
Mark W. Annstrong, dated March 30, 2005, states in part, "it is orderad granting Plaintiffs Motion to Direct
Property Not Be Destroyed, The Court has signed the formal written order submitted by Plaintiff, but limited to
Plaintiff alone. The Court deams this order to be consistent with and in furtherance of previous orders by this Court,"
‘Your Inmate Property/Contraband Release and Seized Property Receipt forms have been amended with the following
information added to the form: "Pursuant to the Order of Judge Mark Armstrong dated March 30, 2005, this form is

amended to require that-none of the property listed will be destroyed, Al] property will be stored until a further court
order is issued."

The amendment was added to your property documents to ensu

re compliance with the provisions of the court order
to prevent destruction of your property.

The response from the ‘mit is affinmed,
oc: John Ontiveros, Warden, Eyman Complex

Deputy Warden, Cook Unit

aa

Appeals Officer _

“28n So

Dora Schriro, me \ . Date
“Deg -\ mF

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APPROVAL OF DISTANCE LEARNING MATERIALS/ARRANGEMENTS

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Schaol/College/University Name: Uni VAN iby of howd oO Ab A re lat ack Lo ileges

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Course Name
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in the course catalog oF textbook fist.
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1 = Video Cassette § = Televised Lecture
9 = Lab Kit (Contents _

= Calculator
Computer disk
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ems, indicate below the arrangements that have been made

Hf your class requires one or more of these it
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Name (Please Print)

APPROVAL OF CEPS/C CPM/EDUCATIUON COORDINATOR

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